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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 BERKLEY INSURANCE CO., et al.,

                        Plaintif.fs,              Case No. 1:13-cv-1053-RCL

                V.


 THE FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                       Defendants.

 IN RE F ANNIE MAE/FREDDIE MAC
 SENIOR PREFERRED STOCK
 PURCHASE AGREEMENT CLASS                         Case No. 1: 13-mc-1288-RCL
 ACTION LITIGATIONS


 This document relates to:
 ALL CASES


                                       aoPQS.W-ORDER

       Upon consideration of the Parties' Joint Submission Regarding Plaintiffs' Proposed Plan

of Allocation and a Schedule for Briefing Any Disputes, the Court hereby ORDERS the following:

       1. On or before January 10, 2024, the Parties will continue to meet and confer and
          identify any areas of dispute regarding Plaintiffs' Proposed Plan of Allocation and their
          Proposed Final Judgment.

       2. On or before January 17, 2024, Plaintiffs shall file their motion for approval of their
          Proposed Plan of Allocation and for entry of their Proposed Final Judgment.

       3. Defendants shall file any opposition to the motion by January 31, 2024.

      4. Plaintiffs shall file any reply in support of the motion by February 7, 2024.



Dated: ----------
                                                            HON. ROYCE C. LAMBERTH
